Case 2:04-CV-02283-SHI\/|-tmp Document 66 Filed 07/18/05 Page 1 0f-2 Page|D 40

IN THE UNITEI) sTATEs DISTRICT coURT w`BY -W-- D'°'
FoR THE WESTERN DISTRICT oF TENNESSEE

 

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RK)WS'M.'GS&B
U.S.!}FSWCTCUHT
JANE DOE # 1, by and through ) w GFWLMMHE
her next friend (mother, )
Jane Doe # 2), and JANE DOE )
# 21 )
)
Plaintiffs, )
)
v. ) No. 04-2283 Ma V
)
MEMPHIS CIT`Y SCHOOLS, et al., )
)
Defendants. )

 

ORDER TO SHOW CAUSE

 

This case arises from the alleged sexual harassment of Jane
Doe # JW a minor student at Kirby High School (“KHS”), by an
instructor at KHS. On March 14, 2005, Plaintiffs moved for summary
judgment against Defendant Danny Peterson on all counts in the
complaint. The record does not show that Peterson has responded,
and time for response has passed. Peterson is ORDERED to show
cause, within ten (10) days of entry of this order, why Plaintiffs’

motion should not be granted.

So ordered this /jzd*day of July 2005.

SAMUEL H. MAYS, JR.
UNI'I'ED STATES DISTRIC'I' JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 66 in
case 2:04-CV-02283 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

